                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
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                                           )
LVB-OGDEN MARKETING, LLC,                 )
                                           )
                  Plaintiff,               )  Case No. 09-CV-4518
                                           )
            v.                             )
                                           )  Judge Harry D. Leinenweber
PATRICK L. MCCOURT, STEPHANIE              )
J. MCCOURT, DAVID S. BINGHAM,             )
SHARON BINGHAM, FRANCES P. GRAHAM, )
CHRISTOPHER G. BINGHAM,                   )
CHERISH BINGHAM a/k/a CHERISH             )
BURGESS, SCOTT F. BINGHAM,                 )
KELLY BINGHAM, and BINGO                  )
INVESTMENTS, LLC,                         )
                                           )
                  Defendants.              )
__________________________________________)

 PLAINTIFF LVB-OGDEN MARKETING, LLC’S MOTION TO REVIVE JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 69(a) and Illinois Rules 735 ILCS 5/12-108

and 735 ILCS 5/2-1601, Plaintiff LVB-Ogden Marketing, LLC (“LVB”) hereby moves to revive

the judgment previously entered, a copy of which is attached, against defendants David S.

Bingham, Sharon Bingham, Frances P. Graham, Christopher G. Bingham, Cherish Bingham

a/k/a Cherish Burgess, Kelly Bingham, and Bingo Investments LLC (collectively, “the Bingham

Defendants”).

       On September 29, 2010, a judgment was entered in the matter of LVB-Ogden Marketing

Corporation v. Patrick McCourt et al. in which the Bingham Defendants were adjudged jointly

and severally liable for $70,944,423.10 plus post judgment interest at the rate of .49% per

annum. LVB-Ogden Marketing Corporation v. Patrick McCourt et al., No. 09 C 4518, Dkt. No.
78 (N.D. Ill. 2010). These damages now exceed $73,345,435.06, which includes the entire

amount of the original judgment plus at least $2,401,011.96 accrued post judgment interest. To

date, the entire amount of the judgment remains unsatisfied. Since the judgment was entered,

LVB has incurred no less than $378 in related costs and reserves all rights to seek any costs

related to the above-captioned action.

       Under Federal Rule of Civil Procedure 26, revival of judgments is governed by the law of

the state in which the district court that entered the judgment is located. FED. R. CIV. P. 69(a).

Accordingly, Illinois state law applies. In Illinois, the statute of limitations for enforcement of

judgments is seven years. 735 ILL. COMP. STAT. 5/12-108. However, Section 12-108 allows for

an exception where the judgment is revived pursuant to 735 ILL. COMP STAT. 5/2-1601. Id.

Section 2-1601 requires the movant to file a “petition filed in the case in which the original

judgment was entered” in order to revive a prior judgment. 735 ILL. COMP STAT. 5/2-1601

(2002). Furthermore, the motion seeking to revive a prior judgment must be sought “no later

than 20 years after the date of entry of such judgment.” 735 ILL. COMP. STAT. 5/13-218 (2009).

       WHEREFORE, for the reasons set forth above, LVB respectfully requests that the Court

enter an order to revive the Judgment entered on September 29, 2010.


Dated: August 25, 2017                                        Respectfully submitted,


                                                       /s/ Tammy A. Tsoumas
                                                       Tammy A. Tsoumas (Admitted Pro Hac Vice)
                                                       Jonathan J. Faria (Admitted Pro Hac Vice)
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                                                       Attorneys for the LVB-Ogden Marketing, LLC



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                              CERTIFICATE OF SERVICE

      I, Tammy A. Tsoumas, an attorney, hereby certify that this 25 day of August, 2017, I

electronically filed the foregoing PLAINTIFF LVB-OGDEN MARKETING, LLC’S

MOTION TO REVIVE JUDGMENT with the Clerk of the Court using the CM/ECF system.



                                                  /s/ Tammy A. Tsoumas
                                                  Tammy A. Tsoumas




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                                        SERVICE LIST

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